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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            2:16-CR-00025-TLN
12                    Plaintiff,
                                                          PRELIMINARY ORDER OF
13           v.                                           FORFEITURE
14   PEDRO FUENTES,
15                    Defendant.
16

17           Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Pedro Fuentes, it is hereby ORDERED, ADJUDGED, AND DECREED as follows:

19           1.       Pursuant to 21 U.S.C. § 853(a), defendant Pedro Fuentes’ interest in the following

20 property shall be condemned and forfeited to the United States of America, to be disposed of according

21 to law:

22                    a.      Approximately $5,300.00 in U.S. Currency, and
23                    b.      Approximately $11,485.00 in U.S. Currency.
24           2.       The above-listed property constitutes or is derived from proceeds obtained, directly or

25 indirectly, as a result of violations of 21 U.S.C. §§ 846 and 841(a)(1).

26           3.       Pursuant to Rule 32.2(b)(3), the Attorney General (or a designee) shall be authorized to

27 seize the above-listed property. The aforementioned property shall be seized and held by the U.S.

28 Marshals Service, in its secure custody and control.

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30                                                                                      Preliminary Order of Forfeiture
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 1           4.       a.      Pursuant to 21 U.S.C. § 853(n) and Local Rule 171, the United States shall

 2 publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

 3 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be

 4 posted for at least 30 consecutive days on the official internet government forfeiture site

 5 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice

 6 to any person known to have alleged an interest in the property that is the subject of the order of

 7 forfeiture as a substitute for published notice as to those persons so notified.

 8                    b.      This notice shall state that any person, other than the defendant, asserting a legal

 9 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the
10 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

11 within thirty (30) days from receipt of direct written notice, whichever is earlier.

12           5.       If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

13 will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will be

14 addressed.

15           6.       Within sixty days from entry of a Final Order of Forfeiture forfeiting the above-listed

16 property, the U.S. Marshals Service shall return $2,464.00 in U.S. Currency to defendant Pedro Fuentes

17 through attorney Todd Leras.

18           SO ORDERED this 9th day of October, 2018.

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21                                                                Troy L. Nunley
                                                                  United States District Judge
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30                                                                                           Preliminary Order of Forfeiture
